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 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                No.   CR.S-07-0088 FCD

12               Plaintiff,

13        v.                                  ORDER RE DEFENDANT’S
                                              MOTION FOR DISCOVERY
14   GONZALO HERRERA,

15               Defendant.

16                                 /

17               On April 29, 2008, this matter came before the undersigned

18   for hearing on defendant Gonzalo Herrera’s motion for discovery (Doc.

19   No. 70).    Attorney James Greiner appeared on behalf of defendant

20   Herrera and Assistant United States Attorney Phil Ferrari appeared on

21   behalf of the government.

22               After hearing the arguments of the parties, the court

23   granted the discovery motion in part and denied it in part for the

24   reasons stated on the record.        This summary written order merely

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 1   documents the order issued on the record at the hearing.1                 In this

 2   regard, the court ruled as follows:

 3            Request 1:                Denied as untimely.

 4            Request 2:                Granted.    The government is to produce any

 5                                      pure Brady material forthwith and any Jencks

 6                                      and/or Giglio material one week prior to

 7                                      trial.

 8            Request 3:                Granted.    Rule 16 material to be produced no

 9                                      later than May 2, 2008.

10            Requests 4-10:            Addressed by rulings on Requests 2 and 3,

11                                      above.

12            Request 11:               404(b) notice to be provided one week prior

13                                      to trial.

14            Requests 12-18:           Addressed by rulings on Requests 2 and 3,

15                                      above except for the request that a list of

16                                      all cell phone numbers be produced which

17                                      request was withdrawn by the defense.

18                    IT IS SO ORDERED.

19   DATED: June 26, 2008.

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22   DAD:lg
     herr0088.disc.order
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25           The court notes that on June 9, 2008, the assigned District
     Judge granted defendant Herrera’s Rule 29 motion, dismissed the only
26   two counts of the Superceding Indictment in which defendant Herrera
     was charged and ordered his release from custody.

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